                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 REBECCA M. MOORE and                           *
 LUPE WELBOURN,                                 *
                                                *
         Plaintiffs,                            *
                                                *
 vs.                                            *       3:14 CV- 00396- PLR-hbg
                                                *
 ALFA ALLIANCE                                  *
 INSURANCE CORP.,                               *
                                                *
         Defendant.


                       STIPULATION OF DISMISSAL WITH PREJUDICE

         The Plaintiffs, Rebecca M. Moore and Lupe Welbourn, and the Defendant ALFA

 Alliance Insurance Corp., by and through their undersigned counsel, and pursuant to Rule

 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, stipulate to the voluntary dismissal

 with prejudice of the Plaintiffs’ claims asserted against the Defendant in this action. Further,

 the parties have each agreed to waive the filing of a bill of costs.

         WHEREFORE, premises, considered, the parties hereby stipulate and agree to the

 dismissal with prejudice of the claims against ALFA Alliance Insurance Corp. in this action and

 move for an entry of an Order dismissing all of the Plaintiff’s claims against the Defendant with

 prejudice, with the parties to waive submission of a bill of costs.




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 APPROVED BY:

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